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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


 LEROY PERNELL, et al.,

                    Plaintiffs,              Case No. 4:22-cv-304-MW-MAF

              v.

 FLORIDA BOARD OF GOVERNORS
 OF THE STATE UNIVERSITY
 SYSTEM, et al.,

                    Defendants.


                    DEFENDANTS’ NOTICE OF APPEAL
      Notice is hereby given this 29th day of November, 2022, that Defendants

Manny Diaz, Jr., Brian Lamb, Eric Silagy, Timothy M. Cerio, Richard Corcoran,

Aubrey Edge, Patricia Frost, Nimna Gabadage, Edward Haddock, Ken Jones,

Darlene Luccio Jordan, Alan Levine, Charles H. Lydecker, Craig Mateer, Steven M.

Scott, Deanna Michael, and Kent Stermon, all in their official capacities as members

of the Florida Board of Governors of the State University System, hereby appeal to

the United States Court of Appeals for the Eleventh Circuit from the Order granting

a preliminary injunction, Dkt. 63, entered in this action on Nov. 22, 2022.




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 Date: November 29, 2022            Respectfully submitted,

                                    /s/ Charles J. Cooper
                                    Charles J. Cooper (Bar No. 248070DC)
                                    John D. Ohlendorf (Pro Hac Vice)
                                    Megan M. Wold (Pro Hac Vice)
                                    John D. Ramer (Pro Hac Vice)
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                                    Counsel for Defendants Board of
                                    Governors, et al.




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